
Loretta H. Rush, Chief Justice of Indiana
The Indiana Supreme Court Disciplinary Commission, pursuant to Indiana Admission and Discipline Rule 23 (11.1)(a), has filed a "Notice of Finding of Guilt and Request for Suspension," requesting that Respondent be suspended from the practice of law in this State, pending further order of this Court or final resolution of any resulting disciplinary action, due to Respondent being found guilty of a crime punishable as a felony.
The Court, being duly advised and upon consideration of all materials submitted, now finds that Respondent has been found guilty of the following offense under Indiana law: Operating a Vehicle While Intoxicated ("OWI") with a Prior OWI Conviction, a level 6 felony.
IT IS THEREFORE ORDERED that Respondent is suspended from the practice of law in this State, effective immediately. Respondent is already under a disciplinary suspension as ordered in Case No. 49S00-1710-DI-656 and an administrative suspension for dues nonpayment. Respondent is ordered to fulfill the continuing duties of a suspended attorney under Admission and Discipline Rule 23(26). The interim suspension shall continue until further order of this Court or final resolution of any resulting disciplinary action, provided no other suspension is in effect.
All Justices concur.
